Case 2:18-cr-14011-RLR Document 20 Entered on FLSD Docket 03/01/2018 Page 1 of 5



                             U N ITE D STA TES DISTRIC T C O U R T
                             SO U TH ER N DISTR IC T O F FLO R IDA
                        CASE NO .      18-14011-CR-ROS- ERG/M YNAQn
                                         18U.S.C.j8754c)
  U NITED STA TES O F AM ER IC A ,

  VS.

  C H A RLTO N EDW A R D LA C H A SE,
                                                                           FlLt-D (
                                                                                  1$'              -
                                                                                                   .       't''
                         Defendant.                                                                          ;
                                          /                                   (-1/$-
                                                                                   it ()j :?ù4
                                                                                            r
                                                                                            .!':
                                                                                               -)
                                                                              STEVEN M.L/lfîlrzltlHi         :
                                                                               CLERK L!.S.r7tST.C7
                                          IN D ICTM E NT                     S D OF F'(A -FI. P$F.'k3'
                                                                                                     (-b     .



         The Grand Jury chargesthat:

                                          COUNT ONE
         On oraboutJanuary 23,2018,in SaintLucie County,in the Southem D istrictofFlorida,

  and elsewhere,the defendant,

                              CH AR LTO N ED W AR D LA CH A SE ,

  did know ingly transm it in interstate and foreign com m erce from N icaragua to Florida a

  communication,thatis,textmessages,containingatruetlzreattoinjureindividualsknowntothe
  Grand Jury,w ith the intentto com m unicate a true threatand w ith the know ledge thatitw ould be

  viewedasatruethreat,inviolationofTitle18,UnitedStatesCode,Section 875(c).
                                          CO UN T TW O

         On oraboutJanuary 24,2018,in SaintLucie County,in the Southern D istrictof Florida,

  and elsew here,the defendant,

                             C H A RL TO N ED W A R D L A CH ASE,
Case 2:18-cr-14011-RLR Document 20 Entered on FLSD Docket 03/01/2018 Page 2 of 5



  did know ingly transm it in interstate and foreign com m erce from N icaragua to Florida a

  communication,thatis,textmessages,containingatruethreattoinjureindividualsknowntothe
  Grand Jury,w ith the intentto com m unicate a true threatand w ith the know ledge thatitw ould be

  viewedasatnlethreat,inviolationofTitle18,United StatesCode,Section 875(c).


                                                     A TRUE BILL



                                                     FO REPER SON

                   j
  BEN JAM W G .G RE N BER G
  U N ITED STA TES A TTORN E

                 ,,..--
           V      ,..      z-,
                             -,
                              -r/
                            -
 / IAN A M . A co s'rA
  A SSISTAN T U N ITED STA TES A TTORN EY
                           UNITED20
 Case 2:18-cr-14011-RLR Document  SV TES DiSTRICT
                                      Entered      COURT
                           SOUTH ERN DISTR IC Ton
                                               O FFLSD  Docket 03/01/2018 Page 3 of 5
                                                  FLO RIDA

UNITED STATES OF AM ERICA                        CASE NO.

                                                 CERTIFIC ATE O F TRIA L A TTO R NEY.
CHAR LTO N EDW AR D LA CH ASE,
                           Defendant.
                                         /       Superseding Case lnform ation:


CouytDivision:(selectonel                       New Defendantts)                 Yes         No
                                                NumberofNew Defendants
       M iam i             K ey W est           Totalnumberofcounts
       FTL                 W PB X FTP
       Ido hereby certify that:
                 lhave carefully considered the allegationsofthe indictm ent,the numberofdefendants,the number
                 ofprobablewitnessesand the legalcomplexitiesofthe Indictm ent/lnformation attached hereto.
                 lam aware thattheinformation supplied on this statementwillbe relied upon by the Judgesofthis
                 Courtin setting theircalendarsand scheduling crim inaltrialsunderthe mandate ofthe Speedy Tlial
                 A ct,Title 28 U .S.C.Section 3161.
       3.        I
                 ntelmr
                     f eter: t  vksorNoà         Yes
                 List anguage an-
                                d/ordialect'        erican Sign Language
       4.        Thiscase willtake      5       daysforthepartiesto try.
                 Pleasecheck appropriate category and type ofoffense listed below :
                 (Checkonlyone)                                 (Checkonlyone)
       l         0 to 5 days                       X            Petty
       11        6 to 10 days                                   M inor
       III       ll to 20 days                                  M isdem .
       IV        21to 60 days                                   Felony
       V         61daysand over
       6:        HasthiscasebeenpreviouslyfiledinthisDistrictCourt? (YesorNo)          No
       lfyes:
       Judge:                                           CaseN o.
       (Attachcopyofdispositiveordel)
       Hasacomplaintbeen filedinthlsmatter?             (YesorNo)         Yes
       lfyej:
       M aglstrate Case No.                      l8-008-SM M
       RelatedM iscsllaneousnumbers:
       Defendantts)lnfederalcustody asof
       Defendantts)lnstatecpstodyasof
       Rule20 from theDistrlctof
       lsthisapotentialdeathpenalty case?(YesorNo)                No

                Dpesthiscaseoriginatefrom a m atterpending in theNorthern Region oftheU .S.Attorney'sOffice
                prlorto October14,20032         Y es                      No     X
       8.        Dvesthiscaseoriginate from amatterpending in         C tralRegion o   eU.S.Att ey'sOffice
                 pnorto September 1,2007?       Yes                        No X

                                                         a aM .Acosta
                                                       ASSISTAN T UNITED STATES ATTORNEY
                                                       FL Bar/courtI.D .No.//775185


*penaltySheetts)attached
  Case 2:18-cr-14011-RLR Document 20 Entered on FLSD Docket 03/01/2018 Page 4 of 5

                              U NITED STA TES D IST RIC T CO UR T
                              SO U TH ER N D ISTRIC T O F FLO R ID A

                                                 C ase N o:

U NITED STA TE S O F AM ERIC A

 V.

CH AR I,TO N EDW A RD LA C H A SE ,

                      D efendant.
                                    /

                                    C R IM IN A L C O V ER SH EET


          Did thism atteroriginate from am atterpending in theM iam iOfficeoftheUnited States
          A ttom ey's Ofticepriorto July 20,2008?

                       Y es               X         No

       2. Did thism atteroriginate from am atterpending in theNorthern Region oftheUnitedStates
          Attorney'sOffice(W estPalm Beach Office)onlypriortoDecember18,2011?
                      Y es                X        No

          D id thism atteroriginate from a m atterpending in the FortPierce O ffice ofthe United States
          A ttom ey'sO ffice priorto A ugust8,2014?

                     Yes                 X         No


                                           Respectfully subm itted,

                                           BENJA M            .G REEN BERG
                                           U N IT             TES A T

                                        By:
                                              D iana M .A costa
                                              FL Bar#775185
                                              A ssistantU nited States Attorney
                                              Email:diana.acosta@ usdoi.gov
                                              United StatesA ttorney's O ftice
                                              101 South U S Highw ay 1,Suite 3100
                                              FortPierce,FL 34950
                                              Telephone: 772-466-0899
                                              Facsim ile: 772-466-1020
                                              A ttorney forU nited StatesofA m erica
Case 2:18-cr-14011-RLR Document 20 Entered on FLSD Docket 03/01/2018 Page 5 of 5


                                     UN ITED STATES D ISTR IC T C O UR T
                                     SO U TH ER N D ISTRIC T O F FL OR IDA
                                              PENA LTY SH EET




  Defendant'sName: Charlton Edw ard La Chase


   CO UN T               W O LA TIO N                          U.S.CO D E                                   Mu       .   PENALTY *



     1-2       Foreign Transmissionof                        18:875(c)                          5Years'ofImprisonment
               ThreattoInjure                                                                   $250,000fine
                                                                                                SR :3 years




                    *Refersonly to possible term ofincarceration. Doesnotincludepossiblefmes,restitution,specialassessments,paroletenns,or
       forfeituresthatmaybeapplicable.
